                                                            Case 2:18-cv-00867-CBM-JPR Document 62 Filed 07/03/19 Page 1 of 28 Page ID #:305




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                                                                                                                                           SANDOVAL
                                                                                                                                         7
                                                                                                                                         8                             UNITED STATES DISTRICT COURT
                                                                                                                                         9               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                                                                                        10
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                                                                                                                                        11 DANELLE SANDOVAL, an individual              CASE No. CV 18-00867-CBM (JPRx)
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                                                                        DISCOVERY MATTER:
                                                                                                                                        12                    Plaintiff,                PLAINTIFFS' NOTICE OF
       G R A NT H A M L L P




                                                                                                                                                                                        MOTION AND MOTION TO
                                       232 N. CANON DRIVE




                                                                                                                                        13               v.                             COMPEL FURTHER RESPONSES
                                                                                                                                                                                        AND PRODUCTION OF
                                                                                                                                        14 BURAK YETER, an individual;                  DOCUMENTS, AND FOR
                                                                                                                                           CONNECTION RECORDS, a foreign                SANCTIONS
                                                                                                                                        15 corporation; WARNER MUSIC
                                                                                                                                           GROUP CORPORATION, a Delaware                Date: August 1, 2019
                                                                                                                                        16 corporation; SONY MUSIC                      Time: 10:00 am
                                                                                                                                           ENTERTAINMENT, INC., a Delaware              Crtrm.: Courtroom 690, 6th Floor
                                                                                                                                        17 general partnership; DANCE                           Roybal Federal Building and
                                                                                                                                           PARADISE UK LIMITED, a foreign                       United States Courthouse, 255
                                                                                                                                        18 corporation; and DOES 1-10, inclusive                E. Temple St., Los Angeles, CA,
                                                                                                                                                                                                90012
                                                                                                                                        19                    Defendants.               Magistrate Judge: Honorable Jean P.
                                                                                                                                                                                                Rosenbluth
                                                                                                                                        20
                                                                                                                                        21               TO DEFENDANTS BURAK YETER, CONNECTION RECORDS,
                                                                                                                                        22 WARNER MUSIC GROUP CORPORATION, AND DANCE PARADISE UK
                                                                                                                                        23 LIMITED, AND THEIR ATTORNEYS OF RECORD:
                                                                                                                                        24               PLEASE TAKE NOTICE THAT ON August 1, 2019, at 10:00 am or as soon
                                                                                                                                        25 thereafter as the matter may be heard in the above-entitled Court located at Roybal
                                                                                                                                        26 Federal Building and United States Courthouse, 255 E. Temple St., Los Angeles,
                                                                                                                                        27 CA, 90012, Courtroom 690, 6th Floor, plaintiff Danelle Sandoval will and hereby
                                                                                                                                        28 does move this Court for an order compelling defendants Burak Yeter, Connection
                                                                                                                                             8627.3.19
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 Records, Warner Music Group Corporation, and Dance Paradise UK Limited
                                                                                                                                         2 (collectively, “Defendants”) to (a) provide verified further responses to her first set
                                                                                                                                         3 of Requests for Production without objections, (b) provide a privilege log listing all
                                                                                                                                         4 documents that Defendants have withheld based on claims of privilege, and (c)
                                                                                                                                         5 produce all responsive documents in their possession, custody or control. In
                                                                                                                                         6 addition, Sandoval moves for an order that Defendants pay to her counsel the sum of
                                                                                                                                         7 $12,679 as the reasonable costs and attorney fees incurred in connection with this
                                                                                                                                         8 motion.
                                                                                                                                         9               This motion is made on the grounds that Defendants' responses contain
                                                                                                                                        10 meritless objections and are ambiguous, that Defendants have failed to produce all
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                                                                                                                                        11 responsive documents, and that Defendants have acted without justification.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12               Meet and Confer Discussions. The parties have met and conferred, as set forth
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                                       232 N. CANON DRIVE




                                                                                                                                        13 in more detail in Section II below. Most recently, Sandoval sent Defendants a letter
                                                                                                                                        14 dated June 17, 2019, inviting them to attend an in-person conference pursuant to
                                                                                                                                        15 Local Rule 37.1, and made 2 additional requests by email. Defendants have not
                                                                                                                                        16 meaningfully responded. As a result, Sandoval was unable to prepare a joint
                                                                                                                                        17 stipulation to accompany this motion.
                                                                                                                                        18               This motion will be based on this Notice, the Memorandum of Points and
                                                                                                                                        19 Authorities, the declaration of Alexander Rufus-Isaacs, the request for production of
                                                                                                                                        20 documents and responses, and the other exhibits which are filed herewith.
                                                                                                                                        21
                                                                                                                                        22 DATED: July 3, 2019                        RUFUS-ISAACS ACLAND &
                                                                                                                                                                                      GRANTHAM LLP
                                                                                                                                        23
                                                                                                                                        24
                                                                                                                                        25
                                                                                                                                                                                      By:
                                                                                                                                        26                                                  Alexander Rufus-Isaacs
                                                                                                                                                                                            Attorneys for Plaintiff DANELLE
                                                                                                                                        27
                                                                                                                                                                                            SANDOVAL
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                                                                                                                                         1                      MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                                         2 I.            INTRODUCTION
                                                                                                                                         3               Plaintiff Danelle Sandoval (“Sandoval”) is a Los Angeles-based singer and
                                                                                                                                         4 musician. Defendant Burak Yeter (“Yeter”) is a Turkish music producer. Prior to
                                                                                                                                         5 February 2015, they did not know each other. In 2014, Sandoval made an audio-
                                                                                                                                         6 visual recording of herself singing and playing a cover version of a song called
                                                                                                                                         7 “Tuesday,” (“Sandoval Recording”) and posted it on her YouTube channel.
                                                                                                                                         8               While in Los Angeles in or about February 2015, Yeter ripped the vocal track
                                                                                                                                         9 off the Sandoval Recording and placed his own backing tracks underneath it to
                                                                                                                                        10 create a new recording (“Yeter Recording”). On February 7, 2015, he contacted
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                                                                                                                                        11 Sandoval and sent her the Yeter Recording. He asked if he could post it on
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                                                                                                                                        12 SoundCloud, a non-commercial streaming website. She agreed if he credited her
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                                                                                                                                        13 name, which he did. She never gave him permission to exploit it commercially.
                                                                                                                                        14               The Yeter Recording was released in 2016 by Defendants1 as Tuesday
                                                                                                                                        15 (Featuring Danelle Sandoval) (“Infringing Work”). It was one of the top recordings
                                                                                                                                        16 in Europe in 2016-2018, with reportedly more than 1.3 billion million streams on
                                                                                                                                        17 YouTube, Spotify and Apple Music, 27 Platinum Awards, a Number 1 hit over 70
                                                                                                                                        18 countries on iTunes and Shazam. Defendants are profiting handsomely from this hit,
                                                                                                                                        19 but they have paid Sandoval nothing.
                                                                                                                                        20               On February 2, 2018, Sandoval filed this lawsuit seeking to recover, inter alia,
                                                                                                                                        21 damages representing her share of the revenues from the Infringing Work. The basic
                                                                                                                                        22 facts are undisputed. Consequently, this is essentially an accounting action.
                                                                                                                                        23
                                                                                                                                             1
                                                                                                                                        24  Defendant Connection Records is controlled by Yeter. It contracted to release the
                                                                                                                                           Infringing Work with defendant Dance Paradise UK Limited (“DPUK”), a London-
                                                                                                                                        25 based entity run by Andre Riazanski, a Russian. It is believed that DPUK in turn
                                                                                                                                        26 contracted with Warner Music Russia (an affiliate of defendant Warner Music
                                                                                                                                           Group Corporation, which has handled worldwide distribution) and Sony Music
                                                                                                                                        27 Entertainment Russia.
                                                                                                                                        28
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                                                                                                                                         1 II.           PROCEDURAL SUMMARY RE REQUESTS FOR PRODUCTION
                                                                                                                                         2               During discovery, Sandoval has sought documents and information about
                                                                                                                                         3 Defendants’ commercial exploitation of the master recording of the Infringing Work
                                                                                                                                         4 (“Master Recording”), including revenues, in order to determine the amount of
                                                                                                                                         5 damages to which she is entitled. They provided some information and produced
                                                                                                                                         6 some documents, but with substantial omissions.
                                                                                                                                         7               On January 15,2 Sandoval propounded a set of 28 requests for production of
                                                                                                                                         8 documents ("Requests") (Exh. 1) and a set of 26 interrogatories on Defendants.
                                                                                                                                         9 Their responses were initially due by February 12, but Sandoval’s counsel granted
                                                                                                                                        10 several extensions. First he agreed to extend the deadline for both sets of responses
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                                                                                                                                        11 to March 1. Next, he agreed to extend it to March 8. Defendants’ counsel then
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                                                                                                                                        12 requested a further extension to March 22 and represented to Sandoval’s counsel
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                                                                                                                                        13 that he would receive good faith responses by that date. Based on that
                                                                                                                                        14 representation, he agreed. (Rufus-Isaacs Declaration ("ARI Decl."), ¶3; Exh. 2).
                                                                                                                                        15               On March 22, Defendants served their responses ("Responses") in which they
                                                                                                                                        16 agreed to produce a wide range of documents. (Exh. 3). In fact, they only produced
                                                                                                                                        17 two: a 5-page list of compilations on which the Master Recording allegedly
                                                                                                                                        18 appeared (DEF001-005) and a 3,033 page spreadsheet, which purports to show
                                                                                                                                        19 digital revenues earned by the Master Recording in Europe in the 2nd half of 2018
                                                                                                                                        20 (DEF006-3039). (ARI Decl., ¶4.) No documents were produced in numerous
                                                                                                                                        21 categories where the Response stated that documents would be produced. These
                                                                                                                                        22 were not the good faith responses that had been promised.
                                                                                                                                        23               On April 17, Sandoval’s counsel sent Defendants’ counsel a meet and confer
                                                                                                                                        24 letter (Exh. 4). On April 23, Defendants produced a further 1,800 pages of
                                                                                                                                        25 documents (DEF3040-4841), all of which had previously been produced voluntarily.
                                                                                                                                        26
                                                                                                                                        27   2
                                                                                                                                                 All dates are in 2019, unless otherwise indicated.
                                                                                                                                        28
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                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               Sandoval compiled a list of those documents (“Produced Documents List” -
                                                                                                                                         2 (ARI Decl., ¶6; Exh. 5), which shows that Defendants produced no documents in
                                                                                                                                         3 response to several of the Requests, and only a few documents in response to others.
                                                                                                                                         4               No supplemental responses were provided. (ARI Decl., ¶7.) Therefore, none
                                                                                                                                         5 of the deficiencies identified in the April 17th letter have been remedied.
                                                                                                                                         6               On June 17, Sandoval’s counsel sent Defendants’ counsel a letter identifying
                                                                                                                                         7 the issues in dispute and requesting a date for an in-person meeting to seek to
                                                                                                                                         8 resolve those issues, as required by Local Rule 37.1. (Exh. 6). Defendants' counsel
                                                                                                                                         9 requested a telephone conversation which took place on June 18. Some of the issues
                                                                                                                                        10 in the June 17 letter were discussed, but most were not. (Exh. 7). (ARI Decl., ¶9.)
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                                                                                                                                        11               Sandoval’s counsel sent Defendants’ counsel follow-up emails on June 21
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                                                                                                                                        12 and June 26, asking for dates for an in-person meeting, and warning that a motion to
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                                                                                                                                        13 compel would be filed if no dates were provided. (Exh. 8). Defendants’ counsel did
                                                                                                                                        14 not respond. (ARI Decl., ¶10.)
                                                                                                                                        15 III.          THE COURT SHOULD ORDER DEFENDANTS TO PROVIDE
                                                                                                                                        16               FURTHER RESPONSES AND PRODUCE ALL RESPONSIVE
                                                                                                                                        17               DOCUMENTS
                                                                                                                                        18               A.    Request For Production No. 1.
                                                                                                                                        19                     1.    The Request.
                                                                                                                                        20               This Request asked for documents (including, without limitation, statements
                                                                                                                                        21 and other accounting documents, and any summary pages) relating to all gross
                                                                                                                                        22 revenues generated by the Master Recording.3
                                                                                                                                        23
                                                                                                                                             3
                                                                                                                                        24     The Requests contain the following definitions: “The term “document(s)” herein
                                                                                                                                             means the original (if available, or if not, a legible copy) of a writing, as defined in
                                                                                                                                        25
                                                                                                                                             F.R.E. Rule 1001, and includes any handwriting, printing, photographs,
                                                                                                                                        26   electronically stored information, and every other means of recording letters, words,
                                                                                                                                        27   pictures, sounds, or symbols, or combinations thereof, which are in the possession,
                                                                                                                                             custody or control of the responding parties or their attorneys, accountants, or
                                                                                                                                        28   (footnote continued)
                                                                                                                                             8627.3.19
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                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1                     2.     The Response.
                                                                                                                                         2               Defendants responded: “In addition to its General Objections, which are
                                                                                                                                         3 incorporated into this response as though fully set forth herein, Defendants
                                                                                                                                         4 specifically object to this Interrogatory on the grounds that it (i) seeks information
                                                                                                                                         5 that is protected from disclosure by the attorney-client privilege and/or attorney
                                                                                                                                         6 work-product doctrine; (ii) is vague, ambiguous and/or overbroad as to the term
                                                                                                                                         7 “Master Recording,”; (iii) seeks the production of private or confidential business,
                                                                                                                                         8 financial, proprietary, trade secret, or other sensitive information, the disclosure of
                                                                                                                                         9 which would damage or harm Defendants, their clients, or related persons or
                                                                                                                                        10 entities; (iv) is overly broad and unduly burdensome; (v) seeks information which is
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                                                                                                                                        11 neither relevant to any party’s claims or defense, nor proportional to the needs of the
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                                                                                                                                        12 case; and (vi) is not limited in time and scope.”
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                                                                                                                                        13               Without waiving those objections, Defendants agreed to produce “non-
                                                                                                                                        14 privileged responsive documents in their possession, custody or control, to the
                                                                                                                                        15 extent any exist and have not yet been previously produced to Sandoval, subject to
                                                                                                                                        16 the provisions of an applicable protective order.”
                                                                                                                                        17                     3.     Further Response Is Required.
                                                                                                                                        18                            (a)   Responses Lack Specificity.
                                                                                                                                        19               For each item or category, a response must state that inspection will be
                                                                                                                                        20 permitted as requested or state with specificity the grounds for objecting to the
                                                                                                                                        21 request, including the reasons. [F.R.C.P. 34(b)(2)(B)]. The April 17 letter pointed
                                                                                                                                        22 out that the response fails to comply with this rule, and stated, “If you are genuinely
                                                                                                                                        23
                                                                                                                                        24 agents; the term “relating to” herein means referring to, alluding to, responding to,
                                                                                                                                           concerning, connected with, supporting, relevant to, commenting on, reflecting, in
                                                                                                                                        25 respect of, about, regarding, discussing, showing, describing, mentioning, analyzing,
                                                                                                                                        26 disclosing, evidencing, and/or constituting; and the term “Master Recording” herein
                                                                                                                                           means all versions of Yeter’s recording of the song entitled Tuesday, featuring
                                                                                                                                        27 Danelle (aka Danella) Sandoval, including music videos thereof.” (Emphasis added)
                                                                                                                                        28
                                                                                                                                             8627.3.19
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                                                                                                                                         1 uncertain about the terms that you claim are vague and ambiguous, please explain
                                                                                                                                         2 why. [¶] Please provide a supplemental response without any of these objections, or
                                                                                                                                         3 if you maintain that any of them have merit, please state with specificity the grounds
                                                                                                                                         4 for each such one.” Defendants did not respond. (ARI Decl., ¶5.)
                                                                                                                                         5               None of the boilerplate objections have any merit.4
                                                                                                                                         6                            (b)   Defined Terms Are Not Ambiguous.
                                                                                                                                         7               “Master Recording” is a defined term (see footnote 3 above). It is not vague,
                                                                                                                                         8 ambiguous or overbroad. Nor have Defendants attempted to explain why it is.
                                                                                                                                         9                            (c)   Protective Order Overrides Privacy Concerns.
                                                                                                                                        10               The parties stipulated to a Protective Order which was entered by the Court
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                                                                                                                                        11 on March 7. Because this enables Defendants to produce documents marked
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                                                                                                                                        12 Confidential, thereby restricting their use, their privacy objection has no merit.
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                                                                                                                                        13                            (d)   Irrelevance Objection Is Absurd.
                                                                                                                                        14               The irrelevance objection is particularly inappropriate. This Request goes to
                                                                                                                                        15 the very heart of the dispute, i.e., how much money did the Master Recording make?
                                                                                                                                        16                            (e)   Request Is Not Overbroad.
                                                                                                                                        17               The request is not overbroad as to time - the Infringing Work was first
                                                                                                                                        18 released in 2016, which means that the relevant period is only three years.
                                                                                                                                        19 Defendants do not explain why they believe it is overly burdensome.
                                                                                                                                        20                            (f)   Privileged Documents Are Not Identified.
                                                                                                                                        21               As to the Defendants’ claim of privilege, parties withholding documents as
                                                                                                                                        22 privileged should identify and describe the documents in sufficient detail to enable
                                                                                                                                        23 the demanding party “to assess the applicability of the privilege or protection.”
                                                                                                                                        24
                                                                                                                                        25   4
                                                                                                                                            Even if, arguendo, one of these objections did apply to a document, Defendants
                                                                                                                                        26 should have identified the document being withheld and produce the others. [FRCP
                                                                                                                                           34(b)(2)(C); see Aikens v. Deluxe Fin'l Services, Inc. (D. KS 2003) 217 F.R.D. 533,
                                                                                                                                        27 539—responding party still has duty to respond to extent request not objectionable.]
                                                                                                                                        28
                                                                                                                                             8627.3.19
                                                                                                                                                                                            5
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 [F.R.C.P. 26(b)(5); Ramirez v. County of Los Angeles (CD CA 2005) 231 F.R.D.
                                                                                                                                         2 407, 410—failure to provide sufficient information may constitute waiver of
                                                                                                                                         3 privilege]. The April 17 and June 17 letters both ask Defendants to identify what
                                                                                                                                         4 documents, if any, have been withheld, and, if any were withheld on privilege
                                                                                                                                         5 grounds, to provide a privilege log. Defendants did not respond or provide a log.
                                                                                                                                         6                           (g)    "To The Extent Any Exist” Creates Ambiguity.
                                                                                                                                         7               The inclusion of the term “to the extent any exist” makes the response
                                                                                                                                         8 ambiguous because it is makes it impossible to determine from the Response
                                                                                                                                         9 whether any responsive documents do actually exist.
                                                                                                                                        10                           (h)    Previously Produced Documents Are Produced Again.
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                                                                                                                                        11               The next term “and have not yet been previously produced to Sandoval” has
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                                                                                                                                        12 no legal basis - just because a document has previously been produced does not
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                                                                                                                                        13 relieve Defendants from the obligation to produce it again during discovery. In any
                                                                                                                                        14 event, Defendants did produce all previously produced documents on April 23.
                                                                                                                                        15                     4.    Additional Documents Must be Produced.
                                                                                                                                        16               A party is obliged to produce all specified relevant and nonprivileged
                                                                                                                                        17 documents or other things that are in his or her “possession, custody, or control.”
                                                                                                                                        18 [F.R.C.P. 34(a)(1), (b)(2)(B)]. The Produced Documents List lists all of the
                                                                                                                                        19 produced documents, and for those documents which purport to show revenues
                                                                                                                                        20 generated by the Master Recording in a particular period, it shows the amount of
                                                                                                                                        21 those revenues in Euros (excluding revenues shown on statements provided by Sony
                                                                                                                                        22 Music). These revenues total €261,110 (roughly US$295,000), but in their response
                                                                                                                                        23 to Interrogatory No. 1, Defendants state that the Master Recording has generated
                                                                                                                                        24 revenues amounting to US$2,876,696 (excluding revenues generated by Sony
                                                                                                                                        25 Music). (ARI Decl., ¶¶6, 11.) Defendants presumably arrived at this total based on
                                                                                                                                        26 some underlying data. This means that Defendants must have documents containing
                                                                                                                                        27 data showing revenues of over US$2.5 million which have not been produced.
                                                                                                                                        28               Sandoval seeks an order that Defendants produce responsive documents in
                                                                                                                                             8627.3.19
                                                                                                                                                                                            6
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 their collective possession, custody, or control, including, without limitation, the
                                                                                                                                         2 documents they used to calculate the total of US$2,876,696.
                                                                                                                                         3               B.    Request For Production No. 2.
                                                                                                                                         4                     1.     The Request.
                                                                                                                                         5               All documents (including, not limited to, agreements, statements and other
                                                                                                                                         6 accounting documents) relating to synchronization rights (including but not limited
                                                                                                                                         7 to, TV, Film, DVD, Internet & Commercials) for the Master Recording.
                                                                                                                                         8                     2.     The Response.
                                                                                                                                         9               The response makes objections that are almost identical to those made in the
                                                                                                                                        10 response to Request no. 1, and then states that “upon information and belief,
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                                                                                                                                        11 Defendants are unaware of the existence of any such responsive documents.”
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                                                                                                                                        12                     3.     Further Response Is Required.
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                                                                                                                                        13               This is not an acceptable response because (a) the objections are meritless for
                                                                                                                                        14 the reasons stated above with respect to Request No. 1, and (b) it does not state (i)
                                                                                                                                        15 that a diligent search and reasonable inquiry has been made in an effort to locate the
                                                                                                                                        16 item requested; and (ii) the reason the party is unable to comply: e.g., the document
                                                                                                                                        17 never existed; has been lost or stolen; was inadvertently destroyed; or is not in the
                                                                                                                                        18 possession, custody, or control of the responding party. [Rutter Group Prac. Guide:
                                                                                                                                        19 Fed. Civ. Pro. Before Trial, §11:1913.] The April 17th letter asked Defendants to
                                                                                                                                        20 provide a further response which contains statements meeting these requirements,
                                                                                                                                        21 but they failed to do so. Moreover, based on Defendants’ supplemental response to
                                                                                                                                        22 Interrogatory no. 9 (see below), this response stating that Defendants are unaware of
                                                                                                                                        23 the existence of such documents is inaccurate.
                                                                                                                                        24                     4.     Additional Documents Must be Produced.
                                                                                                                                        25               Defendants supplemental response to Interrogatory no. 9 states that the total
                                                                                                                                        26 amount of gross revenues generated by the Master Recording from synchronization
                                                                                                                                        27 uses is $9,674.25. (ARI Decl., ¶12.) Defendants presumably arrived at that number
                                                                                                                                        28 based on some underlying revenue data. This means that Defendants must have
                                                                                                                                             8627.3.19
                                                                                                                                                                                             7
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 documents containing data showing those revenues which have not been produced.
                                                                                                                                         2
                                                                                                                                         3               C.    Request For Production No. 3.
                                                                                                                                         4                     1.    The Request.
                                                                                                                                         5               All documents (including, without limitation, agreements, statements and
                                                                                                                                         6 other accounting documents) relating to the use of the Master Recording on
                                                                                                                                         7 compilations.
                                                                                                                                         8                     2.    The Response.
                                                                                                                                         9               The response is almost the same as the response to Request no. 1.
                                                                                                                                        10                     3.    Further Response Is Required.
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                                                                                                                                        11               The objections are meritless, and the response ambiguous, for the same
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                                                                                                                                        12 reasons stated with respect to Request No. 1 above. Moreover, the Request seeks
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                                                                                                                                        13 production of “All documents...” but the Response does not state whether "all"
                                                                                                                                        14 responsive documents have been produced.
                                                                                                                                        15                     4.    Additional Documents Must be Produced.
                                                                                                                                        16               The only document produced by Defendants which expressly relates to
                                                                                                                                        17 compilations is a 5 page list showing the title, format and territory of certain
                                                                                                                                        18 compilations. No other documents have been provided. (ARI Decl., ¶13.)
                                                                                                                                        19               Defendants must have other responsive documents in their collective
                                                                                                                                        20 possession, custody, or control, such as agreements or memoranda showing the
                                                                                                                                        21 proportion of revenues generated by the compilations attributed to the Master
                                                                                                                                        22 Recording, and accounting statements and summaries showing the actual revenues
                                                                                                                                        23 generated and the actual amount paid to Defendants for the Master Recording. This
                                                                                                                                        24 is evidenced by Defendants supplemental response to Interrogatory no. 10, which
                                                                                                                                        25 states that the total amount of gross revenue generated by the master recording from
                                                                                                                                        26 compilations is $76,966, and their supplemental response to Interrogatory no. 18,
                                                                                                                                        27 which states that approximately 199,589 units were sold where the Master
                                                                                                                                        28 Recording was featured as a track on a compilation. (ARI Decl., ¶¶14, 16.)
                                                                                                                                             8627.3.19
                                                                                                                                                                                            8
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 Defendants presumably arrived at these numbers based on some underlying revenue
                                                                                                                                         2 data. This means that Defendants must have documents showing those revenues
                                                                                                                                         3 which have not been produced.
                                                                                                                                         4               D.    Request For Production No. 4.
                                                                                                                                         5                     1.    The Request.
                                                                                                                                         6               All documents (including, without limitation, agreements, statements and
                                                                                                                                         7 other accounting documents) relating to the use of the Master Recording for
                                                                                                                                         8 YouTube or digital services (including, but not limited to, downloads & streaming).
                                                                                                                                         9                     2.    The Response.
                                                                                                                                        10               The response is almost the same as the response to Request no. 1.
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                                                                                                                                        11                     3.    Further Response Is Required.
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                                                                                                                                        12               The objections are meritless, and the response ambiguous, for the same
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                                                                                                                                        13 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        14                     4.    Additional Documents Must be Produced.
                                                                                                                                        15               The documents on the Produced Documents List show only a small fraction
                                                                                                                                        16 of the revenues. For example, there are no documents showing revenues generated
                                                                                                                                        17 outside Europe. (ARI Decl., ¶6.)
                                                                                                                                        18               E.    Request For Production No. 5.
                                                                                                                                        19                     1.    The Request.
                                                                                                                                        20               Documents (including, without limitation, all statements and other accounting
                                                                                                                                        21 documents) showing the gross revenues generated by the Master Recording from
                                                                                                                                        22 performing rights organizations (“PRO’s”) and other collection bodies.
                                                                                                                                        23                     2.    The Response.
                                                                                                                                        24               The response is almost the same as the response to Request no. 1.
                                                                                                                                        25                     3.    Further Response Is Required.
                                                                                                                                        26               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        27 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        28                     4.    Additional Documents Must be Produced.
                                                                                                                                             8627.3.19
                                                                                                                                                                                            9
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               The Produced Documents List shows that Defendants have produced
                                                                                                                                         2 documents showing only a small fraction of the revenues. Defendants must have
                                                                                                                                         3 received revenues relating to the Master Recording from PRO’s, and therefore must
                                                                                                                                         4 have other responsive documents in their collective possession, custody, or control.
                                                                                                                                         5               F.    Request For Production No. 6.
                                                                                                                                         6                     1.    The Request.
                                                                                                                                         7               All documents (including, without limitation, agreements, communications,
                                                                                                                                         8 and statements and other accounting documents) relating to agreements relating to
                                                                                                                                         9 the Master Recording.
                                                                                                                                        10                     2.    The Response.
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                                                                                                                                        11               The response is almost the same as the response to Request no. 1.
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                                                                                                                                        12                     3.    Further Response Is Required.
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                                                                                                                                        13               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        14 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        15                     4.    Additional Documents Must be Produced.
                                                                                                                                        16               The Produced Documents List shows that Defendants have produced only 6
                                                                                                                                        17 agreements (Exh. 5 - on lines 28-33). Other agreements must exist. For example,
                                                                                                                                        18 where are the agreements between DPUK and Warner Music Russia or any of the
                                                                                                                                        19 Warner Music entities? And there must be communications and statements relating
                                                                                                                                        20 to all of these agreements (both those that were produced and those that were not).
                                                                                                                                        21               G.    Request For Production No. 7.
                                                                                                                                        22                     1.    The Request.
                                                                                                                                        23               All documents (including, without limitation, agreements, communications,
                                                                                                                                        24 and statements and other accounting documents) relating to agreements relating to
                                                                                                                                        25 the Master Recording in which any of the Adverse Parties5 is named as a party to
                                                                                                                                        26
                                                                                                                                        27   5
                                                                                                                                             The term “Adverse Parties” is defined as meaning “WMG, Connection, DPUK,
                                                                                                                                        28 (footnote continued)
                                                                                                                                             8627.3.19
                                                                                                                                                                                           10
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 that agreement.
                                                                                                                                         2                     2.     The Response.
                                                                                                                                         3               The response is almost the same as the response to Request no. 1.
                                                                                                                                         4                     3.     Further Response Is Required.
                                                                                                                                         5               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                         6 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                         7                     4.     Additional Documents Must be Produced.
                                                                                                                                         8               The production is deficient for the same reasons set forth with respect to
                                                                                                                                         9 Request no. 6 above.
                                                                                                                                        10               H.    Request For Production No. 8.
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                                                                                                                                        11                     1.     The Request.
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                                                                                                                                        12               All documents (including, without limitation, communications, and
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                                                                                                                                        13 statements and other accounting documents) relating to the Exclusive Licensing
                                                                                                                                        14 Agreement dated March 25, 2016 between Connection and DPUK.
                                                                                                                                        15                     2.     The Response.
                                                                                                                                        16               The response is almost the same as the response to Request no. 1.
                                                                                                                                        17                     3.     Further Response Is Required.
                                                                                                                                        18               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        19 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        20                     4.     Additional Documents Must be Produced.
                                                                                                                                        21               The agreement itself has been produced, but nothing else. Other responsive
                                                                                                                                        22 documents, such as communications and statements relating to the agreement, must
                                                                                                                                        23 exist, but have not been produced.
                                                                                                                                        24               I.    Request For Production No. 9.
                                                                                                                                        25
                                                                                                                                        26
                                                                                                                                           SBA Production, LLC, Warner Music Russia, and their subsidiaries or affiliates, and
                                                                                                                                        27 Yeter.)”
                                                                                                                                        28
                                                                                                                                             8627.3.19
                                                                                                                                                                                            11
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1                     1.    The Request.
                                                                                                                                         2               All documents (including, without limitation, communications, and
                                                                                                                                         3 statements and other accounting documents) relating to the Exclusive Licensing
                                                                                                                                         4 Agreement dated May 4, 2016 between Connection and DPUK.
                                                                                                                                         5
                                                                                                                                         6                     2.    The Response.
                                                                                                                                         7               The response is almost the same as the response to Request no. 1.
                                                                                                                                         8                     3.    Further Response Is Required.
                                                                                                                                         9               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        10 reasons stated with respect to Request Nos. 1 and 3 above.
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                                                                                                                                        11                     4.    Additional Documents Must be Produced.
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                                                                                                                                        12               The agreement itself has been produced, but nothing else. Other responsive
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                                                                                                                                        13 documents, such as communications and statements relating to the agreement, must
                                                                                                                                        14 exist, but have not been produced.
                                                                                                                                        15               J.    Request For Production No. 10.
                                                                                                                                        16                     1.    The Request.
                                                                                                                                        17               All documents (including, without limitation, communications, and
                                                                                                                                        18 statements and other accounting documents) relating to the Exclusive Licensing
                                                                                                                                        19 Agreement dated June 4, 2016 between Connection and DPUK.
                                                                                                                                        20                     2.    The Response.
                                                                                                                                        21               The response is almost the same as the response to Request no. 1.
                                                                                                                                        22                     3.    Further Response Is Required.
                                                                                                                                        23               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        24 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        25                     4.    Additional Documents Must be Produced.
                                                                                                                                        26               The agreement itself has been produced, but nothing else. Other responsive
                                                                                                                                        27 documents, such as communications and statements relating to the agreement, must
                                                                                                                                        28 exist, but have not been produced.
                                                                                                                                             8627.3.19
                                                                                                                                                                                           12
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               K.    Request For Production No. 11.
                                                                                                                                         2                     1.    The Request.
                                                                                                                                         3               All documents (including, without limitation, communications, and
                                                                                                                                         4 statements and other accounting documents) relating to the Exclusive Licensing
                                                                                                                                         5 Agreement dated June 20, 2016 between Connection and DPUK.
                                                                                                                                         6                     2.    The Response.
                                                                                                                                         7               The response is almost the same as the response to Request no. 1.
                                                                                                                                         8                     3.    Further Response Is Required.
                                                                                                                                         9               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        10 reasons stated with respect to Request Nos. 1 and 3 above.
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                                                                                                                                        11                     4.    Additional Documents Must be Produced.
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                                                                                                                                        12               The agreement itself has been produced, but nothing else. Other responsive
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                                                                                                                                        13 documents, such as communications and statements relating to the agreement, must
                                                                                                                                        14 exist, but have not been produced.
                                                                                                                                        15               L.    Request For Production No. 12.
                                                                                                                                        16                     1.    The Request.
                                                                                                                                        17               All documents (including, without limitation, communications, and
                                                                                                                                        18 statements and other accounting documents) relating to the Exclusive Licensing
                                                                                                                                        19 Agreement dated January 11, 2017 between Connection and DPUK.
                                                                                                                                        20                     2.    The Response.
                                                                                                                                        21               The response is almost the same as the response to Request no. 1.
                                                                                                                                        22                     3.    Further Response Is Required.
                                                                                                                                        23               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        24 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        25                     4.    Additional Documents Must be Produced.
                                                                                                                                        26               The agreement itself has been produced, but nothing else. Other responsive
                                                                                                                                        27 documents, such as communications and statements relating to the agreement, must
                                                                                                                                        28 exist, but have not been produced.
                                                                                                                                             8627.3.19
                                                                                                                                                                                           13
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               M.    Request For Production No. 13.
                                                                                                                                         2                     1.     The Request.
                                                                                                                                         3               All documents relating to any communications relating to the Master
                                                                                                                                         4 Recording passing between any of the Defendants.
                                                                                                                                         5
                                                                                                                                         6                     2.     The Response.
                                                                                                                                         7               The response is almost the same as the response to Request no. 1.
                                                                                                                                         8                     3.     Further Response Is Required.
                                                                                                                                         9               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        10 reasons stated with respect to Request Nos. 1 and 3 above.
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                                                                                                                                        11                     4.     Documents Must be Produced.
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                                                                                                                                        12               Such communications must have taken place, but no responsive documents
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                                                                                                                                        13 have been produced.
                                                                                                                                        14               N.    Request For Production No. 15.
                                                                                                                                        15                     1.     The Request.
                                                                                                                                        16               All documents (including, without limitation, agreements, communications,
                                                                                                                                        17 and statements and other accounting documents) passing between Yeter and any
                                                                                                                                        18 other person relating to the Master Recording.
                                                                                                                                        19                     2.     The Response.
                                                                                                                                        20               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                        21 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                        22                     3.     Further Response Is Required.
                                                                                                                                        23               The objections are meritless for the same reasons stated with respect to
                                                                                                                                        24 Request No. 1 above.
                                                                                                                                        25                     4.     Documents Must be Produced.
                                                                                                                                        26               Responsive documents must be produced.
                                                                                                                                        27               O.    Request For Production No. 16.
                                                                                                                                        28                     1.     The Request.
                                                                                                                                             8627.3.19
                                                                                                                                                                                            14
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               All documents (including, without limitation, agreements, communications,
                                                                                                                                         2 and statements and other accounting documents) passing between Connection and
                                                                                                                                         3 any other person relating to the Master Recording.
                                                                                                                                         4                     2.     The Response.
                                                                                                                                         5               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                         6 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                         7                     3.     Further Response Is Required.
                                                                                                                                         8               The objections are meritless for the same reasons stated with respect to
                                                                                                                                         9 Request No. 1 above.
                                                                                                                                        10                     4.     Documents Must be Produced.
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                                                                                                                                        11               Responsive documents must be produced.
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                                                                                                                                        12               P.    Request For Production No. 17.
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                                                                                                                                        13                     1.     The Request.
                                                                                                                                        14               All documents (including, without limitation, agreements, communications,
                                                                                                                                        15 and statements and other accounting documents) passing between DPUK and any
                                                                                                                                        16 other person relating to the Master Recording.
                                                                                                                                        17                     2.     The Response.
                                                                                                                                        18               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                        19 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                        20                     3.     Further Response Is Required.
                                                                                                                                        21               The objections are meritless for the same reasons stated with respect to
                                                                                                                                        22 Request No. 1 above.
                                                                                                                                        23                     4.     Documents Must be Produced.
                                                                                                                                        24               Responsive documents must be produced.
                                                                                                                                        25               Q.    Request For Production No. 18.
                                                                                                                                        26                     1.     The Request.
                                                                                                                                        27               All documents (including, without limitation, agreements, communications,
                                                                                                                                        28 and statements and other accounting documents) passing between WMG and any
                                                                                                                                             8627.3.19
                                                                                                                                                                                            15
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 other person relating to the Master Recording.
                                                                                                                                         2                     2.     The Response.
                                                                                                                                         3               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                         4 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                         5
                                                                                                                                         6                     3.     Further Response Is Required.
                                                                                                                                         7               The objections are meritless for the same reasons stated with respect to
                                                                                                                                         8 Request No. 1 above.
                                                                                                                                         9                     4.     Documents Must be Produced.
                                                                                                                                        10               Responsive documents must be produced.
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                                                                                                                                        11               R.    Request For Production No. 19.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12                     1.     The Request.
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                                                                                                                                        13               All documents (including, without limitation, agreements, communications,
                                                                                                                                        14 and statements and other accounting documents) passing between Warner Music
                                                                                                                                        15 Russia and any other person relating to the Master Recording.
                                                                                                                                        16                     2.     The Response.
                                                                                                                                        17               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                        18 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                        19                     3.     Further Response Is Required.
                                                                                                                                        20               The objections are meritless for the same reasons stated with respect to
                                                                                                                                        21 Request No. 1 above.
                                                                                                                                        22                     4.     Documents Must be Produced.
                                                                                                                                        23               Responsive documents must be produced.
                                                                                                                                        24               S.    Request For Production No. 20.
                                                                                                                                        25                     1.     The Request.
                                                                                                                                        26               All documents (including, without limitation, agreements, communications,
                                                                                                                                        27 and statements and other accounting documents) passing between SBA Production
                                                                                                                                        28 LLC and any other person relating to the Master Recording.
                                                                                                                                             8627.3.19
                                                                                                                                                                                            16
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1                     2.     The Response.
                                                                                                                                         2               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                         3 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                         4                     3.     Further Response Is Required.
                                                                                                                                         5               The objections are meritless for the same reasons stated with respect to
                                                                                                                                         6 Request No. 1 above.
                                                                                                                                         7                     4.     Documents Must be Produced.
                                                                                                                                         8               Responsive documents must be produced.
                                                                                                                                         9               T.    Request For Production No. 21.
                                                                                                                                        10                     1.     The Request.
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                                                                                                                                        11               All documents relating to the Master Recording distributed internally within
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 WMG.
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                                                                                                                                        13                     2.     The Response.
                                                                                                                                        14               The response is almost the same as the response to Request no. 1, save that it
                                                                                                                                        15 consists solely of objections, and does not agree to produce any documents.
                                                                                                                                        16                     3.     Further Response Is Required.
                                                                                                                                        17               The objections are meritless for the same reasons stated with respect to
                                                                                                                                        18 Request No. 1 above.
                                                                                                                                        19                     4.     Documents Must be Produced.
                                                                                                                                        20               Responsive documents must be produced.
                                                                                                                                        21               U.    Request For Production No. 22.
                                                                                                                                        22                     1.     The Request.
                                                                                                                                        23               Documents (including, without limitation, statements and other accounting
                                                                                                                                        24 documents, and any summary pages) showing the total number of times that the
                                                                                                                                        25 Master Recording has been streamed.
                                                                                                                                        26                     2.     The Response.
                                                                                                                                        27               The response is almost the same as the response to Request no. 1.
                                                                                                                                        28                     3.     Further Response Is Required.
                                                                                                                                             8627.3.19
                                                                                                                                                                                            17
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                         2 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                         3                     4.    Additional Documents Must be Produced.
                                                                                                                                         4               The Produced Documents List shows that Defendants have produced
                                                                                                                                         5 documents showing only a small fraction of the revenues from streaming. For
                                                                                                                                         6 example, they have produced no documents showing revenues generated by
                                                                                                                                         7 streaming outside Europe. 6
                                                                                                                                         8               V.    Request For Production No. 23.
                                                                                                                                         9                     1.    The Request.
                                                                                                                                        10               Documents (including, without limitation, statements and other accounting
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                                                                                                                                        11 documents, and any summary pages) showing the total number of times that the
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 Master Recording has been downloaded.
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                                                                                                                                        13                     2.    The Response.
                                                                                                                                        14               The response is almost the same as the response to Request no. 1.
                                                                                                                                        15                     3.    Further Response Is Required.
                                                                                                                                        16               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        17 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        18                     4.    Additional Documents Must be Produced.
                                                                                                                                        19               The Produced Documents List shows that Defendants have produced
                                                                                                                                        20 documents showing only a small fraction of the revenues from downloading.7 For
                                                                                                                                        21 example, they have produced no documents showing revenues generated by
                                                                                                                                        22 downloading outside Europe.
                                                                                                                                        23               W.    Request For Production No. 24.
                                                                                                                                        24
                                                                                                                                             6
                                                                                                                                        25    In January 2018, Yeter stated that the Infringing Work had been streamed 1.3
                                                                                                                                             billion times. (ARI Decl., ¶15.)
                                                                                                                                        26   7
                                                                                                                                            Defendants’ supplemental response to Interrogatory 17 states that the Master
                                                                                                                                        27 Recording has been downloaded 662,573 times. (ARI Decl., ¶16.)
                                                                                                                                        28
                                                                                                                                             8627.3.19
                                                                                                                                                                                           18
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1                     1.    The Request.
                                                                                                                                         2               Documents (including, without limitation, statements and other accounting
                                                                                                                                         3 documents, and any summary pages) showing the total number of physical units
                                                                                                                                         4 embodying the Master Recording that have been sold or distributed.
                                                                                                                                         5
                                                                                                                                         6                     2.    The Response.
                                                                                                                                         7               The response is almost the same as the response to Request no. 1.
                                                                                                                                         8                     3.    Further Response Is Required.
                                                                                                                                         9               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        10 reasons stated with respect to Request Nos. 1 and 3 above.
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                                                                                                                                        11                     4.    Additional Documents Must be Produced.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12               Defendants have produced no documents showing revenues from sales of
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                                                                                                                                        13 physical units. In their supplemental response to Interrogatory No. 1, Defendants
                                                                                                                                        14 state that the Master Recording has generated revenues amount to US$2,876,696
                                                                                                                                        15 (excluding revenues generated by Sony Music). And in their supplemental response
                                                                                                                                        16 to Interrogatory No. 12, Defendants state that the Master Recording has generated
                                                                                                                                        17 revenues amount to US$2,715,195.31 from all digital services (excluding Sony
                                                                                                                                        18 Music revenues). Some portion of the difference between the two totals
                                                                                                                                        19 ($161,500.70) must be derived from sales of physical units, and documents must
                                                                                                                                        20 exist which contain the data based on which these totals were calculated.
                                                                                                                                        21               X.    Request For Production No. 25.
                                                                                                                                        22                     1.    The Request.
                                                                                                                                        23               Documents (including, without limitation, statements and other accounting
                                                                                                                                        24 documents, and any summary pages) showing the total number of compilations
                                                                                                                                        25 which include the Master Recording that have been sold or distributed.
                                                                                                                                        26                     2.    The Response.
                                                                                                                                        27               The response is almost the same as the response to Request no. 1.
                                                                                                                                        28                     3.    Further Response Is Required.
                                                                                                                                             8627.3.19
                                                                                                                                                                                           19
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                         2 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                         3                     4.    Additional Documents Must be Produced.
                                                                                                                                         4               The Produced Documents List shows that Defendants have produced
                                                                                                                                         5 documents showing only a small fraction of the total revenues stated by Defendants
                                                                                                                                         6 in their supplemental response to Interrogatory No. 1. Some part of those
                                                                                                                                         7 undocumented revenues must have come from compilations. Defendants’
                                                                                                                                         8 supplemental response to Interrogatory no. 10 states that the total amount of gross
                                                                                                                                         9 revenue generated by the master recording from compilations is $76,966, and their
                                                                                                                                        10 supplemental response to Interrogatory no. 18 states that approximately 199,589
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                                                                                                                                        11 units were sold where the Master Recording was featured as a track on a
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 compilation.(ARI Decl., ¶17.) Defendants presumably arrived at that number based
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                                                                                                                                        13 on some underlying revenue data. This means that Defendants must have documents
                                                                                                                                        14 showing those revenues which have not been produced.
                                                                                                                                        15               Y.    Request For Production No. 26.
                                                                                                                                        16                     1.    The Request.
                                                                                                                                        17               All sales reports generated by Warner Music Group’s central reporting entity
                                                                                                                                        18 for the Master Recording.
                                                                                                                                        19                     2.    The Response.
                                                                                                                                        20               The response is almost the same as the response to Request no. 1.
                                                                                                                                        21                     3.    Further Response Is Required.
                                                                                                                                        22               The objections are meritless, and the response ambiguous, for the same
                                                                                                                                        23 reasons stated with respect to Request Nos. 1 and 3 above.
                                                                                                                                        24                     4.    Additional Documents Must be Produced.
                                                                                                                                        25               The Produced Documents List shows that Defendants have produced
                                                                                                                                        26 documents showing only a small fraction of the total revenues stated by Defendants
                                                                                                                                        27 in their supplemental response to Interrogatory No. 1. WMG is one of the world’s
                                                                                                                                        28 largest record companies. It must generate sales reports for songs that it distributes,
                                                                                                                                             8627.3.19
                                                                                                                                                                                           20
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 such as this one.
                                                                                                                                         2               Z.    Request For Production No. 28.
                                                                                                                                         3                     1.     The Request.
                                                                                                                                         4               Any statements provided by Warner Music Russia to any artist or record
                                                                                                                                         5 company from January 1, 2015 to the present, which show a summary of an artist’s
                                                                                                                                         6 or record company’s earnings, and/or any advances have been recouped.
                                                                                                                                         7                     2.     The Response.
                                                                                                                                         8               The response is almost the same as the response to Request no. 1.
                                                                                                                                         9                     3.     Further Response Is Required.
                                                                                                                                        10               The objections are meritless, and the response ambiguous, for the same
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                                                                                                                                        11 reasons stated with respect to Request Nos. 1 and 3 above.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12                     4.     Additional Documents Must be Produced.
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                                                                                                                                        13               WMG is one of the world’s largest record companies. It must generate reports
                                                                                                                                        14 showing such earnings and advances. This is evidenced by Defendants’
                                                                                                                                        15 supplemental response to Interrogatory No. 20 which states that Warner Music
                                                                                                                                        16 Russia calculates that currently there are accrued royalties of approximately
                                                                                                                                        17 €31,680.02 owed to Connection based on the latest royalty statement from 2019
                                                                                                                                        18 which has yet to be finalized and paid. (ARI Decl., ¶18.) The documents on which
                                                                                                                                        19 these calculations are based must exist and must be produced.
                                                                                                                                        20 IV.           THE COURT SHOULD AWARD SANCTIONS IN THE AMOUNT OF
                                                                                                                                        21               $12,679 AGAINST DEFENDANTS.
                                                                                                                                        22               The party who prevails on a motion to compel is entitled to his or her
                                                                                                                                        23 expenses, including reasonable attorney fees, unless the losing party was
                                                                                                                                        24 substantially justified in making or opposing the motion (or other circumstances
                                                                                                                                        25 make such an award unjust). [FRCP 37(a)(5); H. K. Porter Co., Inc. v. Goodyear
                                                                                                                                        26 Tire & Rubber Co. (6th Cir. 1976) 536 F2d 1115, 1124-1125].
                                                                                                                                        27               Sandoval’s counsel is representing their client on a contingency-fee basis.
                                                                                                                                        28 Such clients are not precluded from receiving monetary awards. [Gotro v. R & B
                                                                                                                                             8627.3.19
                                                                                                                                                                                            21
                                                                                                                                                   PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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                                                                                                                                         1 Realty Group, 69 F.3d 1485, 1487-88 (9th Cir.1995) (removal statute permitting
                                                                                                                                         2 recovery of “actual expenses ... incurred” does not preclude recovery by
                                                                                                                                         3 contingency fee litigant).] Sandoval seeks $12,679 in sanctions jointly and severally
                                                                                                                                         4 against Defendants.(ARI Decl., ¶19.)
                                                                                                                                         5 V.            CONCLUSION.
                                                                                                                                         6               For the reasons set forth above, Sandoval respectfully requests that the Court
                                                                                                                                         7 order Defendants, within 14 days, to (a) serve unambiguous verified further
                                                                                                                                         8 responses to these Requests for Production without objections that comply with
                                                                                                                                         9 FRCP 26, (b) provide a privilege log listing all documents that have been withheld
                                                                                                                                        10 based on claims of privilege, (c) produce all responsive documents in their
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                                                                                                                                        11 possession, custody or control, and (d) pay sanctions in the amount of $12,679 to
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 Sandoval’s counsel as the reasonable costs and attorney fees incurred in connection
       G R A NT H A M L L P
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                                                                                                                                        13 with this proceeding.
                                                                                                                                        14
                                                                                                                                        15 DATED: July 3, 2019                         RUFUS-ISAACS ACLAND &
                                                                                                                                                                                       GRANTHAM LLP
                                                                                                                                        16
                                                                                                                                        17
                                                                                                                                        18
                                                                                                                                                                                       By:
                                                                                                                                        19                                                   Alexander Rufus-Isaacs
                                                                                                                                                                                             Attorneys for Plaintiff DANELLE
                                                                                                                                        20
                                                                                                                                                                                             SANDOVAL
                                                                                                                                        21
                                                                                                                                        22
                                                                                                                                        23
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                                                                                                                                         1                                 PROOF OF SERVICE
                                                                                                                                         2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                         3       At the time of service, I was over 18 years of age and not a party to this
                                                                                                                                           action. I am employed in the County of Los Angeles, State of California. My
                                                                                                                                         4 business address is 232 N. Canon Drive, Beverly Hills, California 90210.
                                                                                                                                         5        On July 3, 2019, I served true copies of the following document(s) described
                                                                                                                                           as PLAINTIFFS' NOTICE OF MOTION AND MOTION TO COMPEL
                                                                                                                                         6 FURTHER RESPONSES AND PRODUCTION OF DOCUMENTS on the
                                                                                                                                           interested parties in this action as follows:
                                                                                                                                         7
                                                                                                                                                  John M. Gatti
                                                                                                                                         8        Lauren Fried
                                                                                                                                                  Manatt, Phelps & Phillips, LLP
                                                                                                                                         9        11355 West Olympic Boulevard
                                                                                                                                                  Los Angeles, California 90064 1614
                                                                                                                                        10        E-mail: jgatti@manatt.com
                                                                                                                                                  Email: lfried@manatt.com
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                                                                                                                                        11
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                                  Attorneys for Defendants Warner Music Group Corporation, Burak Yeter,
                                                                                                                                        12        Connection Records, and Dance Paradise UK Limited
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                                                                                                                                        13
                                                                                                                                                  BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                                                                        14 the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                                                                           Participants in the case who are registered CM/ECF users will be served by the
                                                                                                                                        15 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                                                                           be served by mail or by other means permitted by the court rules.
                                                                                                                                        16
                                                                                                                                                  I declare under penalty of perjury under the laws of the United States of
                                                                                                                                        17 America that the foregoing is true and correct and that I am employed in the office
                                                                                                                                           of a member of the bar of this Court at whose direction the service was made.
                                                                                                                                        18
                                                                                                                                                  Executed on July 3, 2019, at Beverly Hills, California.
                                                                                                                                        19
                                                                                                                                        20
                                                                                                                                        21                                            Alexander Rufus-Isaacs
                                                                                                                                        22
                                                                                                                                        23
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                                                                                                                                        26
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                                                                                                                                        28
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